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                             EXHIBIT 20

                             In Support of

            United States’ Reply to Defendants’ Oppositions to
     United States’ Second Motion for Partial Summary Judgment and
     United States’ Response to Cross-Motions for Summary Judgment
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 1   us.    So it's very chaotic.
 2              And I told them two when I backed them
 3   up, I said, "Look, when the hole opens up, one at
 4   a time, Andrea, you're going to go.         Paul, you're
 5   going to go.     I'm going to come in behind you.
 6   I'll be the last one in.      I'll pull the cord.
 7   Everything's great."     All right?     The hole opens
 8   up.    Within seconds I grab Andrea, told her to
 9   go.    She makes a step or two.     The life raft
10   deployed without us.
11         Q.   What did you do then?
12         A.   I wanted to cry.   I mean, I didn't know
13   what to do then.     I explained to Andrea that
14   we're either going to stay here and burn up or
15   we're going to have to jump.       I didn't at that
16   time feel comfortable able enough with her and
17   Paul and myself trying to launch one of the other
18   two remaining life rafts.       It took nine people
19   all this time to get one launched, and even it
20   wasn't done properly.      There was -- in my mind
21   three of us weren't going to get another one of
22   these things launched properly in time to save
23   ourselves.
24              So I looked at her and said, "Look, we're
25   either going to jump, or we're going to burn up."


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 1   She said she couldn't jump.       I told her she
 2   didn't have a choice.      By that time Paul, the
 3   Motorman, had already cleared the handrail.           We
 4   seen him go over.     And it then became real
 5   apparent to me that the life raft is going to be
 6   straight down, and I was really concerned with
 7   Paul's safety and the people in that life raft
 8   that he may, in fact, land on the life raft as
 9   he's falling.
10              So I turned and looked at Andrea, and I
11   said, "Look, we can't jump or we can't just step
12   off the end of the rig here.       If we do, we're
13   going to hit the raft.      You're going to have to
14   run and jump or we're going to have to go
15   somewhere else and jump.      We can't -- we can't
16   land on the raft."
17              That was the last thing I remember saying
18   to her, the last time I remember seeing her.           I
19   went down the -- the walkway a little bit, where
20   I -- I felt like I was clear.       I backed myself
21   up.    I took three or four steps, and I pushed off
22   the end of the rig as hard as I could push, and I
23   hit the water.
24         Q.   What happened once you were in the water?
25         A.   Instant burning all over.     I felt like I


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 1   was on fire.   There -- there was a sludge of
 2   something floating on the water that -- that was
 3   burning me all over.     Once I -- I realized I
 4   wasn't actually on fire, I began to try to clear
 5   my eyes of the oil and the debris so that I could
 6   see what was going on.      What little bit that I
 7   could see, that I could focus on, was that the
 8   fire looked like it was on the surface of the
 9   water underneath the rig.
10           I got real nervous then thinking that,
11   you know, if there's anything flammable on the
12   top of this water -- this oil, this grease, the
13   diesel fuel, whatever it is -- the fire's coming
14   to me and I'm going to burn up anyway.          So I --
15   I -- I did the only thing I knew to do.          I just
16   started swimming backwards.
17           I -- I made a -- a plan in my head that I
18   was going to keep the heat of the fire on my face
19   so that I knew I was pushing the right direction,
20   that I was pushing away from -- from the fire
21   instead of towards it.      That -- that was the only
22   thing I could come up with.       I couldn't take more
23   than about a quarter of a breath.        I had severe
24   pain in my right -- my right side.         My left elbow
25   was completely locked up, and my left ankle was,


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 1   I mean, in excruciating pain the whole time I was
 2   kicking.
 3      Q.    Then what happened?
 4      A.    I -- I thought I died.       I remember
 5   feeling no pain.    I remember feeling no heat, no
 6   nothing.   And then a big -- another explosion or
 7   something brought me out of that, and all the
 8   heat and all the pain came back again.          I
 9   thought, "Well, all right.       Got to keep
10   swimming."    So I -- I started to back stroke
11   again.
12            I -- I don't know at that point where a
13   noise came from, but I heard somebody saying,
14   "Come here, over here.      Come over here."        I
15   didn't know what it was, didn't know who it was.
16   And as I -- I just started to try to -- to swim
17   towards the noise.
18            And apparently I -- I must have blacked
19   out again, because when the guy grabs me and --
20   and -- someone grabbed a hold of me, and he said,
21   "I told you to keep swimming."        And apparently
22   I -- I thought I was swimming, but I wasn't.
23   Apparently I wasn't moving, or at least not to
24   his satisfaction, but he grabbed my life jacket
25   and flipped me into a -- a small boat.


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 1      Q.     What happened next?
 2      A.     Next, he put the boat in forward and was
 3   heading towards the rig instead of a way from it,
 4   and I asked him what he was doing.         He said, "I
 5   see -- I see people in the water."         I -- I told
 6   him, you know, "Look, I'm in bad, bad shape.           Can
 7   you take me to -- away from this thing and dump
 8   me off, put me -- or whatever, and then come
 9   back?"    The last thing I wanted to do now, being
10   covered in oil and grease and whatever, was to go
11   back towards fire.
12             But he went forward anyway.       And the next
13   person that was in the water was Andrea.          They
14   grabbed her, flipped her into the boat.          We
15   started backing out.     Next thing I know, we're
16   going back forward again.       And I asked the guy
17   again, you know, "What are you doing?"          He said,
18   "Well, I see a life raft, and I see people in the
19   water, strobe lights from their life jackets."
20             So we pulled back literally under the rig
21   to attach a line to this life raft.         There were
22   people outside the raft trying to swim with the
23   raft.    They weren't making any progress.        If
24   anything, they were going the wrong way because
25   the wind was blowing towards the fire and not


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